                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                            CRIMINAL NO.: 5:08CR21-RLV

UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
                                                   )
               v.                                  )         ORDER
                                                   )
WILLIAM DONALD DIXON                               )
                                                   )
                         Defendant.                )


       WHEREAS, on April 25, 2008, the Grand Jury for the Western District of North

Carolina returned a Bill of Indictment against the Defendant William Donald Dixon and others;

       WHEREAS, on October 23, 2008, the Defendant William Donald Dixon pleaded guilty

to Counts One, Two, and Four in the Bill of Indictment;

       WHEREAS, on May 14, 2009, Judgment was entered against the Defendant William

Donald Dixon, and on October 3, 2012, the Judgment was amended;

       WHEREAS, the Defendant William Donald Dixon has recently been released from the

custody of the Federal Bureau of Prisons;

       WHEREAS, the Defendant William Donald Dixon has made a Claim against the United

States for the return of personal property seized in the investigation of this case;

       WHEREAS, the United States avers that the claimed personal property was destroyed by

investigative agencies in 2011 and 2012;

       WHEREAS, on July 27, 2015, the parties jointly filed an Agreement on the Docket

settling the Defendant’s property claim;




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       WHEREAS, as evidenced by the Agreement, the United States has agreed to pay the

Defendant William Donald Dixon $928.00 for the value of the personal property claimed by

him;

       NOW, THEREFORE, the Court ORDERS the United States to pay the amount of

$928.00 to Defendant William Donald Dixon. The parties shall bear their own costs and

expenses, if any, including attorney’s fees, if any. The Clerk of Court is directed to mail a copy

of this Order to:


       William Donald Dixon
       2896 Tennis Club Drive
       Number 300
       West Palm Beach, Florida 33417


                                               Signed: July 27, 2015




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